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    11   Resort Advisory Group, Law Offices of David Alan Klein,
         and David Alan Klein, Esquire
    12

    13                           UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF CALIFORNIA
    14
         INTERMARKETING MEDIA, LLC, a              )
    15   Wyoming limited liability company dba     )     CASE NO.: 8:20-cv-00889-JLS (DFMx)
         RESORT ADVISORY GROUP; LAW                )
    16   OFFICES OF DAVID ALAN KLEIN, P.C.; and )        PLAINTIFF’S EX PARTE APPLICATION FOR
    17   DAVID ALAN KLEIN, ESQUIRE,                )     TEMPORARY RESTRAINING ORDER
                                                   )     AGAINST DEFENDANTS BRENT DAVID
    18                      Plaintiffs,            )     BARLOW, BARLOW & ASSOCIATES, CASE
                                                   )     IN CHIEF LLC, COOPERATIVE DISPUTE
    19                      vs.                    )     RESOLUTION SOCIETY, ATT FUND and
                                                   )     PHOENIX INVESTMENTS ALLIANCE LLC
    20
         BRENT DAVID BARLOW, an individual;        )
    21   BARLOW & ASSOCIATES, a law firm;          )
         COOPERATIVE DISPUTE RESOLUTION            )
    22   SOCIETY (unknown entity type/location);   )
         PHOENIX INVESTMENTS ALLIANCE, LLC, )
    23   a limited liability company; ATTFUND      )
         (unknown entity type/location); CASE IN   )
    24
         CHIEF LLC, a California Limited Liability )
    25   Company; JOHN PRESSNEY, PAMELA            )
         PRESSNEY, HERMAN ABEL, DEBORA             )
    26   ABEL, MORRIS HANNAH, VIRGINIA             )
         HANNAH, LEE HARRIS TURK, BERNARDO )
    27   BETTINELLI, CAROL BETTINELLI, LARI )
         CASTLE, GILBERT CASTRO, EVA               )
    28

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         PLAINTIFF’S EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
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     1   CASTRO, PAUL MARTNEZ, RENEE                )
         MARTINEZ, ROBERT ZIMMERMANN,               )
     2   MARY ZIMMERMAN, GLENN PERLEY               )
     3   AND CONNIE PERLEY, each an individual,     )
                                                    )
     4                   Defendants.                )
                                                    )
     5                                              )
     6

     7         Plaintiffs Intermarketing Media LLC dba Resort Advisory Group
     8   (“ResortAG”), David Alan Klein, Esq., and the Law Offices of David Alan Klein
     9   (collectively, “Plaintiffs”), hereby apply ex parte to the Court pursuant to Federal
    10   Rule of Civil Procedure 65 and Local Rule 65-1 for entry of Temporary Restraining
    11   Order (“TRO”) to immediately halt Defendant Brent David Barlow (and associated
    12   Barlow entity defendants Barlow & Associates, ATT Fund, Case in Chief LLC,
    13   Phoenix Investments Alliance, LLC, and Cooperative Dispute Resolution Society
    14   from his ceaseless and continuous illegal solicitation and harassment of

    15   ResortAG’s customers by mail, email and phone, evidence of which is as recent as

    16
         late May 2020, despite having actual notice of the underlying lawsuit and the
         previous TRO Application filed by Plaintiffs.
    17
               Defendant Barlow was notified of the TRO Application by email on July 1,
    18
         2020 and provided courtesy copy of such. Additionally, Defendant Barlow was
    19
         informed that any opposition must be filed no later than 24 hours upon the filing of
    20
         the TRO Application and the clerk of the Court shall be notified accordingly.
    21
         (Alemi Decl. ⁋ 10; Exh. 5)
    22
               Despite actual notice of the Complaint and previous TRO Application,
    23
         Defendant Brent David Barlow and his law firm and other above-named associated
    24   entities (collectively, “Barlow Defendants)” have continued their illegal access to
    25   and use of ResortAG trade secrets, including in particular its proprietary client
    26   database, customer list and business knowhow, have continued publishing
    27   defamatory statements about ResortAG and Plaintiff Klein to ResortAG clients, and
    28

                                          ii
         PLAINTIFF’S EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
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     1   have continued to try to actively recruit ResortAG clients.
     2         Plaintiffs previously filed an application for a temporary restraining order
     3   against all defendants (Doc 10) with this Court which was declined due to concerns
     4   of exigency and notice. (Doc 15) Defendants Barlow and Barlow & Associates
     5   have now been served in this matter with the Complaint, a copy of the previous

     6   application for a TRO and the standing order of the Court for new cases. (Docs 24-
         25) Plaintiffs are now seeking entry of a TRO only against Defendant Brent David
     7
         Barlow and the other Barlow Defendants for his continuous, persistent and still
     8
         ongoing behavior of illegally soliciting and harassing ResortAG’s – which he is
     9
         able to do only by virtue of having stolen ResortAG’s trade secrets - clients in
    10
         hopes of stealing more customers to join his malicious vendetta against Plaintiffs.
    11
         This continuous irreparable harm to Plaintiffs’ reputations and goodwill is one that
    12
         will not stop unless ordered by this Court to stop.
    13
               Accordingly, Plaintiffs hereby apply ex parte to the Court pursuant to Federal
    14
         Rule of Civil Procedure 65 and Local Rule 65-1 for a Temporary Restraining Order
    15   against the Barlow Defendants, and each of them, and their officers, agents,
    16   employees, and attorneys who receive actual notice of this Order by personal
    17   service or otherwise, whether acting directly or indirectly, in connection with the
    18   business and clients of Plaintiffs, prohibiting them from:
    19         1)     Accessing or utilizing the proprietary trade secrets of ResortAG;
    20         2)     Providing timeshare resolution services to any client, present or
    21                former, referred to Defendants Barlow and Barlow & Associates by
    22                ResortAG;
    23         3)     Communicating with any clients of ResortAG for any purpose other

    24                than providing a copy of this Order;

    25
               4)     Using the trade secrets of ResortAG for purposes of solicitating legal
                      services;
    26
               5)     Publicly or privately disseminating the trade secrets of ResortAG;
    27
               6)     maintaining any existing defamatory postings about Plaintiffs in any
    28

                                          iii
         PLAINTIFF’S EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
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     1             medium, which posts shall be immediately depublished;
     2       7)    Publishing any new defamatory statements about Plaintiffs in any
     3             medium;
     4       8)    Directing or orchestrating others to do any of the above prohibited acts
     5             on their behalf;

     6       FURTHER:
             9)    Barlow Defendants, within forty eight (48) hours of service of this
     7
                   Order, shall distribute a copy of this Order to each client referred to
     8
                   Barlow and/or Barlow & Associates by Plaintiff ResortAG with whom
     9
                   they have had any contact since in or about August-September 2018,
    10
                   to Defendants Cooperative Dispute Resolution Society, Phoenix
    11
                   Investments Alliance, LLC, ATT Fund and Case In Chief LLC, and
    12
                   each member or other person associated therewith;
    13
             10)   Barlow Defendants, within forty-eight (48) hours of service of this
    14
                   Order, shall provide Plaintiffs” undersigned counsel with all contact
    15             information; registered offices; and registered agent(s) for Defendants
    16             Cooperative Dispute Resolution Society, Defendant Phoenix
    17             Investments Alliance, LLC, ATT Fund and CASE IN CHIEF LLC.
    18       11)   Barlow Defendants shall file with this Court, within five (5) days of
    19             service of this Order, a sworn Acknowledgement of Distribution of
    20             this Order and Verification of Compliance with provisions 1 through
    21             10 hereinabove.
    22       12)   Barlow Defendants shall preserve, and take all reasonable and
    23             available measure to preserve, and to avoid loss, destruction,

    24             misplacement or spoliation of, all documents, in paper, electronic,

    25
                   digital or any other form, including, without limitation, memoranda,
                   letters, reports, faxes, emails, text messages, voicemail, telephone or
    26
                   video communication (i.e., Zoom, WebEx) recordings and transcripts
    27
                   thereof, social media posts, advertising or marketing material, judicial
    28

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     1                orders, rulings or decisions, invoices, accounting records, and
     2                contracts, and all drafts thereof, relating to: (1) the time share industry;
     3                (2) contracts between timeshare developers and operators and
     4                timeshare purchasers; (3) timeshare resolution (or “exit”) services
     5                providers; (4) ResortAG; (5) Barlow’s tenure and work as an attorney

     6                for ResortAG; (6) ResortAG clients, present and former; (7)
                      communications with ResortAG clients, present or former, including,
     7
                      without limitation, the former clients of ResortAG who are defendants
     8
                      in this action; and (8) public statements about ResortAG in any
     9
                      medium, including, without limitation, the internet and social media;
    10
               13)    Plaintiffs seek to conduct limited expedited discovery for the purpose
    11
                      of discovering: (1) the nature, location, status, and extent of the assets
    12
                      of Barlow Defendants; (2) the nature, location, and extent of the
    13
                      Barlow Defendants’ timeshare-related actions, activities, transactions,
    14
                      operations, and communications, including, in particular, but without
    15                limitation, as they relate to ResortAG and ResortAG clients, present or
    16                former; (3) Documents reflecting the Barlow Defendants’ timeshare-
    17                related actions activities, transactions, operations, and
    18                communications; including, in particular, but without limitation, as
    19                they relate to ResortAG and ResortAG clients, present or former; and
    20                (4) compliance with this Order;
    21         This application is made on the grounds set forth in the accompanying
    22   Memorandum in Support and Declarations of Debra Joy Kizer and Diba Alemi
    23   Jason Kriek, Michael Krieck, and David Alan Klein, Diba Alemi and exhibits

    24   attached thereto; all other pleadings and papers filed by Plaintiffs in this action,

    25
         including in particular the Memorandum of Support and Declarations of Jason
         Kriek (Doc. 10-1), Michael Krieck (Doc. 10-10), and David Alan Klein (Doc. 10-
    26
         12) and exhibits attached thereto filed with Plaintiffs’ prior TRO Application (Doc
    27
         10); the argument of counsel; and further evidence as the Court may consider at or
    28

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         PLAINTIFF’S EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
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     1   before a hearing regarding the Order to Show Cause and preliminary injunction
     2   requested herein.
     3
         DATED: July 1, 2020            THE ALTMAN LAW GROUP
     4

     5
                                              BY:__/s/ Bryan Altman_______________
     6                                        BRYAN C. ALTMAN

     7

     8   DATED: July 1, 2020            LAW OFFICES OF WILLIAM I. ROTHBARD

     9
                                              BY: _/s/ William I. Rothbard___________
    10                                        WILLIAM I. ROTHBARD
    11
                                        Attorneys for Plaintiff Intermarketing Media, LLC
    12                                  d/b/a Resort Advisory Group, Law Offices of
    13                                  David Alan Klein, and David Alan Klein, Esq.

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         PLAINTIFF’S EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
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14
          and David Alan Klein, Esquire
15
                              UNITED STATES DISTRICT COURT
16
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
          INTERMARKETING MEDIA, LLC, a )
18        Wyoming limited liability company dba ) CASE NO.: 8:20-cv-00889
          RESORT ADVISORY GROUP; LAW )
19        OFFICES OF DAVID ALAN KLEIN, ) MEMORANDUM
                                                  AUTHORITIES      IN
                                                                      OF POINTS AND
                                                                       SUPPORT OF
                                                )
          and DAVID ALAN KLEIN, ESQUIRE, ) PLAINTIFFS’ EX PARTE
20
                                                ) APPLICATION FOR TEMPORARY
21                         Plaintiffs,          ) RESTRAINING ORDER AGAINST
                                                ) DEFENDANTS BRENT DAVID
22                                              ) BARLOW, BARLOW &
                          vs.                   ) ASSOCIATES, CASE IN CHIEF LLC,
                                                ) COOPERATIVE DISPUTE
23        BRENT DAVID BARLOW, an                ) RESOLUTION SOCIETY, ATT FUND
          individual; BARLOW &                  ) and PHOENIX INVESTMENTS
24                                              ) ALLIANCE LLC
          ASSOCIATES(unknown entity             )
25        type/location; COOPERATIVE            ) [Declarations of Debra Joy Kizer and
                                                ) Diba Alemi filed herewith; Declarations
26        DISPUTE RESOLUTION SOCIETY            ) of Jason Krieck (Doc. 10-1), Michael
          (unknown entity type/location);       ) Krieck (Doc. 10-10 and David Alan
27        PHOENIX INVESTMENTS                   ) Klein previously filed, Doc 10-12]
                                                )
28        ALLIANCE, LLC, a limited liability    )
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1         company; ATTFUND (unknown entity )
                                                )
          type/location); CASE IN CHIEF LLC, a )
2
          California Limited Liability Company; )
3         JOHN PRESSNEY, PAMELA                 )
                                                )
          PRESSNEY, HERMAN ABEL,                )
4
          DEBORA ABEL, MORRIS HANNAH, ))
5         VIRGINIA HANNAH, LEE HARRIS )
          TURK, BERNARDO BETTINELLI,            )
6                                               )
          CAROL BETTINELLI, LARI CASTLE, )
7         GILBERT CASTRO, EVA CASTRO, )
          PAUL MARTNEZ, RENEE                   )
8                                               )
          MARTINEZ, ROBERT                      )
9         ZIMMERMANN, MARY                      )
                                                )
          ZIMMERMAN, GLENN PERLEY AND )
10
          CONNIE PERLEY, each an individual, )
11                                              )
                                                )
                            Defendants.         )
12
          _________________________________ )
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1
                I.     INTRODUCTION
2
             Plaintiffs Intermarketing Media LLC dba Resort Advisory Group, David Alan
3
          Klein, Esq., and the Law Offices of David Alan Klein (collectively, “Plaintiffs”)
4         hereby move the Court, pursuant to Federal Rule of Civil Procedure 65 and Central
5         District of California Local Rule 65-1, for entry of a temporary restraining order, with
6         notice against Defendant Brent David Barlow (“Defendant Barlow”) and the
7         Defendant entities believed to be owned and controlled by Defendant Barlow: Barlow
8         & Associates, ATT Fund, Case in Chief LLC, Phoenix Investments Alliance, and
9         Cooperative Dispute Resolution Society (collectively, including Defendant Barlow,
10        “Barlow Defendants”).
11           Plaintiffs previously filed an application for a temporary restraining order (Doc
12        10) with this Court which was declined due to concerns of exigency and notice. (Doc

13        15.) Defendants Barlow and Barlow & Associates have now been served in this
          matter with the Complaint, a copy of the previous application for a TRO and the
14
          standing order of the Court for new cases. (Doc 24-25, Declaration of Diba Alemi
15
          (“Alemi Decl ⁋ 3”)1 but have not returned the waiver to Plaintiffs as of the date of
16
          this filing. Plaintiffs are renewing their request for emergency relief because the
17
          Barlow Defendants’ illegal and harmful behavior targeting ResortAG clients and
18
          ResortAG’s reputation, as outlined in the Complaint and documented in the prior
19
          TRO application, has not stopped. The Barlow Defendants were served with a
20        copy of this Application on July 1, 2020, and were notified by email and certified
21        mail of the hearing date. (Alemi Decl. ⁋ 4).
22              At the most basic level, this action seeks to stop a malicious vendetta by a
23        disgruntled terminated attorney against a former client, Resort Advisory Group
24
          1 Defendants Barlow and Barlow & Associates were served by personal service.
25        Defendants ATT Fund, Case in Chief LLC, and Phoenix Investment Alliance LLC
26        were served pursuant to FRCP Rule 4d. Although not the subject of this TRO, all
          other named Defendants (Barlow 10) have been served pursuant to FRCP Rule 4d.
27
          (Alemi Decl. ⁋ 5)
28
                                                      1
                     PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY
                                     RESTRAINING ORDER
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1         (“ResortAG”), a timeshare resolution company with an A+ rating from the Better
2         Business Bureau – a vendetta that has involved trade secret theft, illegal competition,
3         tortious interference with clients of ResortAG, defamation, and extortion, in violation
4         of numerous federal and California statutes, including the Racketeering Influenced
5         and Corrupt Organizations Act (“RICO”), and Barlow’s contractual and fiduciary
6         duties to ResortAG.2 Plaintiffs are in possession of new evidence demonstrating that
7         this vendetta, led by Barlow, is still very much alive, despite the filing of this lawsuit
8         and prior TRO application.

9            Specifically, Defendant Barlow is continuing to harass ResortAG customers by
          mail, email and phone to try to lure them to become customers of Defendant
10
          Cooperative Dispute Resolution Society (“CDRS”) (and, through disparagement, turn
11
          them against ResortAG), despite having actual notice of the underlying lawsuit and
12
          the previous TRO application. Evidence of this is as recent as the end of May 2020.3
13
                Promptly upon discovery of this evidence of continuing client tampering,
14
          Plaintiffs attempted to remedy the situation by sending a Cease and Desist letter to
15
          Defendant Barlow on June 18, 2020. (Alemi Decl. ⁋ 6; Ex. 1) The letter requested he
16        acknowledge he would stop the harmful behavior or Plaintiffs would be filing another
17        TRO application. Defendant Barlow never responded to the demands in the Cease
18        and Desist letter itself, only sending a brief inquiry to try to learn the identity of the
19        client, something ResortAG refused to provide at that time for fear of his retaliation
20        against the client.
21              Based on Barlow’s past pattern of tortious interference and disparagement of
22        Resort AG, as laid out in Plaintiffs’ prior TRO filing, this latest and very recent
23        illegal contact is surely not an isolated incident and he is highly likely to be
24        continuing to contact and harass other ResortAG clients as well. Defendant Barlow is

25        2 For a detailed description of the vendetta and the myriad ways it violates federal
26        and California law, please see Plaintiffs’ original TRO Application, including the
          Memorandum of Points and Authorities and Declarations filed therewith. (Doc 10)
27
          3 See Declaration of Debra Joy Kizer, discussed in Section V.B., infra.
28
                                                        2
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1         incorrigible. It is crystal clear now, if it was not before, that only an emergency
2         intervention by this Court will stop him from flaunting the law, breaching his
3         professional ethical obligations as an attorney, and irreparably harming Plaintiffs’
4         businesses and reputations.
5            This Application is supported by Plaintiffs’ Complaint on file with this Court (Doc
6         9), Plaintiffs’ previous application for a TRO (Doc 10) and its supporting declarations
7         and other documents filed therein with the Court, the proof of personal service of
8         summons on Defendant Barlow and Defendant Barlow & Associates (Doc 21, 22, 24,

9         25), the new Declarations of Debra Joy Kizer and Diba Alemi, the following points
          and authorities, and any oral argument the Court may desire or allow.
10
11              II.    PROCEDURAL HISTORY
12              On May 12, 2020, Plaintiffs filed their original Complaint. (Doc 1.) This case

13        was originally assigned to Judge James Selna (Doc 3), who issued an order striking
          the Complaint pursuant to FRCP Rule 8. (Doc 6.) Plaintiffs filed an Amended
14
          Complaint on May 16, 2020, which was accepted by the Court. (Doc 9.) On May 18,
15
          2020, Plaintiffs filed an ex parte TRO application against Defendant Barlow and all
16
          other Defendants. (Doc 10.) On May 19, 2020, the case was reassigned to Judge
17
          Josephine Staton. (Doc. 11.) On May 21, 2020, Defendant Barlow, acting Pro Per
18
          and purporting to act on behalf of all Defendants, filed an opposition to the TRO
19
          application despite obvious conflicts of interest in doing so. (Doc 14.) On May 22,
20        2020, Plaintiffs’ ex parte TRO application was declined by the Court due to concerns
21        about notice to all Defendants and the exigency of the need for immediate emergency
22        relief. (Doc 15.) On May 22, 2020, Plaintiffs filed a motion to seal portions of
23        documents attached to the Complaint and Application for Temporary Restraining
24        Order, (Doc 16) which was denied by the Court on May 28, 2020. (Doc 17.) On May
25        29, 2020, Plaintiffs filed a summons with the clerk for Defendants Brent Barlow and
26        Barlow & Associates (Doc 19-20) which was signed by the clerk on June 1, 2020.
27        Also, on May 29, 2020, pursuant to FRCP Rule 4d, Plaintiffs served the Complaint,
28        the denied TRO, the Court’s standing order for new cases, and a waiver of summons
                                                      3
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1         by certified U.S. mail on all Defendants except Brent Barlow and Barlow &
2         Associates. (Decl. Alemi ⁋ 5) On June 3, 2020, Plaintiffs filed the RICO Case
3         Statement ordered by Judge Selna prior to reassignment. (Doc 23.) Finally, on June 9,
4         2020, Defendants Barlow and Barlow & Associates were served by personal service
5         with the Complaint, the denied TRO, and the Court’s standing order for new cases,
6         with proofs being filed with the Court on June 16, 2020. (Doc 24 and Doc 25.) As of
7         the current date, Plaintiffs have not received back any waiver of summons replies.
8
             III.      BARLOW DEFENDANTS HAVE BEEN SERVED WITH THE
9                      COMPLAINT AND PREVIOUS TRO
10              Previously, each of the named Barlow Defendants has been served with a copy
11        of the Complaint in this matter and a copy of the previous ex parte Application for a
12        Temporary Restraining Order as filed with this Court, previously denied. (Alemi
13        Decl. ⁋ 3). Defendant Barlow filed an opposition to the previous request for a
14        temporary restraining order, indicating he had notice of the previous request for
15        relief. A letter received on May 17, 2020, from Barlow to Plaintiffs’ counsel on

16        Barlow & Associates letterhead also establishes his knowledge of the pending lawsuit
          and threatens to “invoice” Plaintiffs’ attorneys for his time responding to the lawsuit,
17
          further indicating his knowledge of Plaintiffs complaints. (Alemi Decl. ⁋ 7; Exh. 2).
18
19              IV. PLAINTIFFS’ CEASE AND DESIST LETTER TO BARLOW
20              On June 18, 2020, upon learning that Barlow was continuing illegally to
          contact, solicit and harass ResortAG clients, Plaintiffs served a Cease and Desist
21
          letter on Barlow by electronic and certified mail (Alemi Decl. ⁋ 6; Exh. 1),
22
          demanding that he immediately cease such behavior. The electronic copy of the letter
23
          was served to an email address from which Barlow had previously communicated
24
          with ResortAG counsel and which Barlow had confirmed was his email address. (Id.)
25
          The original of the Cease and Desist letter was served by certified mail to the address
26
          of Barlow’s law firm, Defendant Barlow & Associates, to which the Complaint had
27
28
                                                      4
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1         been successfully served. (Id.) Defendant Barlow acknowledged receipt of the letter
2         on June 19, 2020 by sending an email reply to the Altman Law Group. (Id.)
3               The Cease and Desist letter provided Barlow until close of business on June 22,
4         2020 to respond in writing that he accepted its demands and would cease the violative
5         conduct. It further provided notice that if he did not respond in such manner by that
6         deadline, Plaintiffs would refile for a TRO. Plaintiffs received no such response by
7         or after that deadline, other than a transparently disingenuous self-serving attempt to
8         learn the identity of the ResortAG client in question, which was nothing more than a

9         stalling tactic. (Alemi Decl. ⁋ 8; Exh. 3) Barlow’s failure to comply with the Cease
          and Desist letter, and defiant continuance of his racketeering and tortious conduct
10
          against Plaintiffs, necessitates this instant Application against him and the other
11
          Barlow Defendants.
12
13              V.     STATEMENT OF FACTS4
              A.       Barlow Has Illegally Abused His Prior Access to ResortAG’s
14                     Proprietary Client List and Business Knowhow to Illegally Compete
15                     and Harm ResortAG
16              ResortAG advertises its timeshare resolution services nationwide. It agrees to
          accept as clients only individuals who have demonstrated they are a victim of
17
          timeshare deception.5 ResortAG refers clients to an attorney on retainer who will then
18
          provide the legal component of timeshare resolution services to the client. Due to the
19
          quality of its services, ResortAG has earned an A+ rating from the Better Business
20
          Bureau. (Declaration of Jason Krieck (Doc. 10-1 “Decl. J. Krieck”) ¶ 5; Doc. 10-2)
21
                In January, 2017, ResortAG retained Defendant Barlow to provide legal
22
          services to ResortAG. The retainer agreement (“Retainer”) provided that he was to:
23
24        4 Except for repeating the factual predicate of Defendant Barlow’s and his law firm’s
          contractual, fiduciary and legal obligations to Plaintiffs, this statement of facts is
25        limited to new evidence of Barlow Defendants’ continuing illegal behavior uncovered
26        since the prior TRO application, which adds new urgency to the need for a TRO. See
          Doc 10 for the full factual background.
27        5 (Doc 10-1, Decl. J. Krieck ¶ 3).
28
                                                      5
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1                “serve as personal counsel for Client [ResortAG] with respect to any legal
                 advice and services which may need to be rendered in relation to client's
2
                 business, specifically; assistance with Clients customers in their efforts to
3                withdraw from and/or cancel timeshare contracts with various developers
                 and to assist those Clients customers in obtaining refunds if and when
4
                 possible. Firm [Barlow] agrees to work exclusively with Resort Advisory
5                Group, LLC on matters pertaining to timeshare cancellation services.”
6
          (Id. ¶¶ 6-7; Ex. 2.) Barlow was paid by ResortAG, and not by the clients. ResortAG
7
          referred approximately 235 clients to Barlow and paid him approximately $300,000.
8
          (Id. ¶¶ 8-9.) The ResortAG-Barlow Retainer contained this confidentiality/non-
9
          circumvention/non-compete clause:
10
                All information disclosed by either party hereunder ("Confidential
11              Information"), including any information concerning an Approved
                Prospect, shall always be treated as confidential by each party during the
12
                term of this Agreement and thereafter and shall not be disclosed to any
13              third party without the prior written consent of both parties. Neither party
                shall use any of the Confidential Information except in the
14
                performance of its duties hereunder. All Confidential Information
15              provided to either party shall be returned to the disclosing party
                immediately upon termination of this Agreement. The parties further agree
16
                that neither party shall use the Confidential Information disclosed by
17              the other party to compete with the disclosing party or circumvent the
                business of the disclosing party.
18
          (Id. ¶ 10; Ex. 2.) (Emphasis added.) Pursuant to this contractual promise, ResortAG
19
          granted Barlow regulated access to its client database, which contained essentially a
20
          client’s entire financial picture and case evaluation notes. He also necessarily had
21
          access to all proprietary and highly valuable aspects of ResortAG’s business model
22
          (“Business Knowhow”). As counsel to ResortAG, Barlow was in a position to learn
23        everything there is to know about the Business Knowhow of ResortAG. (Id.)
24              ResortAG’s client database and Business Knowhow are its most valuable
25        assets. Resort AG acquires customers through extensive advertising and marketing,
26        into which it has invested millions of dollars. It spends significant time and resources
27        collecting and synthesizing ResortAG’s clients’ information to qualify and serve its
28
                                                      6
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1         clients. The investment ResortAG makes in the acquisition, growth, maintenance and
2         servicing of their clients represents the lion’s share of its budget. (Id. ¶ 11.)
3             ResortAG vigilantly protects its proprietary client database and Business
4         Knowhow.6 In addition to client privacy, these measures are intended to protect its
5         trade secrets from access by third parties who would stand to benefit economically
6         from knowledge of its proprietary information, including potential competitors.
7         Since the attorneys who ResortAG hires to assist in providing timeshare resolution
8         services are, theoretically, potential competitors, it includes confidentiality, non-

9         circumvention and non-compete clauses in its attorney retainer agreements (like the
          one in Barlow’s cited above). (Id. ¶ 12.)
10
                In or about August-September 2018, ResortAG terminated the relationship
11
          with Barlow for cause, including by failing to provide clients with timeshare
12
          resolution services, as required, and by encouraging them to consider alternative
13
          means of timeshare resolution representation. (Id. ¶ 13.)
14             B.     Defendant Barlow’s History of Illegal Use of ResortAG Trade
15                    Secrets
16           Since his termination, and continuing to this day, Barlow has been engaged in a
          vindictive campaign of unfair competition, interference with ResortAG’s business
17
          and clients, and disparagement of Plaintiffs - all in violation of his contractual and
18
          fiduciary obligations as counsel to ResortAG, and to Plaintiffs’ great detriment.
19
          When Barlow was terminated, ResortAG cut off his authorized access to the CRM.
20
          (Id., ¶ 14(a).) Nevertheless, Barlow, in a brazen conflict of interest, illegally accessed
21
          and continued to use that information to which he no longer had authorized access to
22
          go into competition with ResortAG in the timeshare resolution business. (Id.)
23              Barlow illicitly used the confidential client information and Business
24        Knowhow of ResortAG to target its clients and began to independently offer and
25        provide timeshare resolution services to them, re-charging them for the same or
26
           6 Password protection, administrator-controlled login, and access tracking. Id., ¶ 12.)
27
28
                                                       7
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1         similar services for which he had already been paid by ResortAG and for which they
2         had already paid ResortAG. (Id., ¶ 14(a).)
3                In unsolicited letters to ResortAG clients, he was using his influence, which he
4         had gained only in his capacity as counsel to ResortAG, to steer them away from
5         ResortAG and toward an alternative means of timeshare resolution representation
6         from a purported “consumer advocacy” organization, CDRS. He claimed to
7         ResortAG clients that CDRS will “singlehandedly destroy the timeshare industry and
8         that “CDRS guarantees the timeshare customers who they agree to work with will get

9         back, minimally, every single cent they mistakenly gave the timeshare developer.”7
          (Emphasis in original.) CDRS’s impact on the timeshare companies, he wrote, is
10
          “absolutely devastating and eclipses any ‘promise’ made by a so-called ‘exit’
11
          company,” like Plaintiff. Barlow sent such solicitations to “select clients” of
12
          ResortAG and referred at least 52 who responded to this purported organization. (Id.,
13
          ¶ 14(b); Ex. 4.) Indeed, he admitted charging Barlow 10 defendants David and
14
          Debora Abel $5,000 for resolution services for which he had already been paid by
15
          ResortAG, and that he had similarly offered his services to other ResortAG clients
16        who had been referred for an additional charge. (Doc 10, Declaration of Michael
17        Krieck, ¶ 3 (Doc. 10-10 “Krieck M. Decl.”) Using his unauthorized access to
18        ResortAG’s proprietary client database, Barlow has sent, and is continuing to send,
19        unsolicited letters to ResortAG’s customers that contain falsehoods about ResortAG
20        and its business. (Doc. 10-1 Decl. J. Krieck ¶ 14(b), Doc. 10-5, ¶ 14(e), Doc. 10-7.)
21            C.        Barlow CONTINUES to Abuse His Access to ResortAG’s
                        Proprietary Client List and Business Knowhow to Illegally Solicit
22                      and Defame
23               Plaintiffs have new direct evidence of Barlow’s continuing unsolicited contacts

24        and illegal solicitation of ResortAG clients and defamation of Resort AG. Debra Joy

25
          7 Defendant Barlow appears to be repeatedly violating Rule of Professional Conduct
26        1-400, amongst others, which prohibits an attorney from sending solicitations that are
27        “a communication which contains guarantees, warranties, or predictions regarding the
          result of the representation.”
28
                                                       8
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1         Kizer is a current client of ResortAG, having enrolled in April 2018 when Defendant
2         Barlow was still serving as a timeshare resolution attorney for ResortAG. As set
3         forth in her declaration, in the remaining months that he was still with Resort AG
4         before being terminated in August-September 2018, Barlow, in her words, “did
5         nothing” to help her get out of her unfair timeshare contract and “would not even
6         return my calls.” (Declaration of Debra Joy (“Kizer Decl.”) ¶¶ 2-3.) This
7         incompetence and indifference, along with the fact that ResortAG had discovered that
8         Barlow was soliciting ResortAG clients in a secret plan to go into competition with
9         ResortAG in violation of his retainer agreement and fiduciary duty to ResortAG, is
10        the very reason that he was terminated. (Doc. 10-1, J. Krieck Decl. ¶ 13.) Kizer was
11        very pleased when she learned that Barlow had been dumped and she was assigned to
12        a new attorney who actually showed an interest in her case, made effort to resolve it,
13        and was responsive to her calls and inquiries. (Kizer Decl. ¶ 3.) She has been
14        satisfied with ResortAG ever since. (Id.)
15              After Barlow was fired, Kizer thought she was done with him. Unfortunately,
16        she did not know the man as Plaintiffs have come to know him, and was sadly
17        mistaken. Three times since she thought he was out of her life, he and/or one of his
18        shadowy entities, CDRS, have made unsolicited, high pressure contacts with her for
19        the purpose of promoting themselves as a timeshare exit alternative to ResortAG, and
20        badmouthed ResortAG in the process. The first was in an email she received from
21        Barlow on August 28, 2019. (Id. ¶ 4, Ex. 1.)8 The second was in an email she
22        received from CDRS on May 5, 2020, less than two months ago, which she read as an
23        “all-out attack” on ResortAG. (Id. ¶ 5, Ex. 2.9)
24
          8 “CDRS guarantees…timeshare customers…will get back, minimally, every single
25
          cent they mistakenly gave the timeshare developer… [CDRS] eclipses any ‘promise’
26        made by a so-called timeshare ‘exit’ company”.
27        9 The email claims ResortAG’s client contracts are “fraudulent,” and that as a result
          of the “crimes” committed by ResortAG against CDRS members (former ResortAG
28
                                                      9
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1               The third illegal contact was a call from Barlow himself to Kizer in the last
2         week of May, 2020, only a month ago or so. (Id., ¶¶ 6-9.) Plaintiffs’ management and
3         counsel learned about this call and Barlow’s and CDRS’s prior unsolicited emails to
4         Kizer in or about mid-June after she reported them to ResortAG’s customer service
5         department.
6               Employing an “extremely aggressive and intense” manner and voice, Barlow
7         said the purpose of the call to Kizer was to follow up on the email CDRS had sent her
8         on May 5, 2020. (Id. ¶ 7.) He made clear he and CDRS were “antagonistic” toward

9         ResortAG, said that Kizer was a “victim” of ResortAG, and disparaged ResortAG
          when she told him she was pleased with ResortAG. (Id.) He made her feel “great
10
          pressure” to leave Resort AG and sign with him and CDRS “immediately.” (Id. ⁋ 8) It
11
          made her feel “very uncomfortable… He was trying to make me question my
12
          relationship with ResortAG…I resented it. (Id.)
13
                Resort AG does not believe the situation with Ms. Kizer to be an isolated “one
14
          off,” and believes Defendant Barlow has very recently contacted far more clients than
15
          just Ms. Kizer. Plaintiffs believe that Defendant Barlow has not stopped or slowed
16        down at all and is simply operating the same scheme as he used to recruit the Barlow
17        10 by sending emails from “CDRS” rather than himself (and using an anonymous
18        email provider)10 and then following up by phone personally to continue the
19        harassment and improper solicitation of ResortAG’s clients. His use of CDRS and
20        anonymous emails is an ill-fated attempt to insulate himself from any paper trail.
21
          clients) since December, 2019, “a total of 33 criminal complaints have been lodged
22        …against RAG and six of RAG’s executives and employees,” and state bar
23        complaints lodged against Plaintiff David Alan Klein. It also states “unless ResortAG
          offers to settle soon with the criminal complainants, they face almost certain
24        indictment and prosecution.”
25        10 Doc 10-1, J. Krieck Decl. ¶ 14(e).
26
27
28
                                                    10
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1               VI.    EXIGENCY WARRANTS EMERGENCY RELIEF
2               Defendant Barlow could not have had access to the contact information for Ms.
3         Kizer without having first acquired her information by the theft and misappropriation

4         of the trade secrets of ResortAG, through the exploitation of his former position as
          counsel to ResortAG, and breach of his contractual and fiduciary duties of
5
          confidentiality, non-circumvention, and non-competition. Plaintiffs do not believe
6
          Ms. Kizer is unique, and dozens more have likely been contacted by Barlow.
7
          Plaintiffs believe that Barlow’s disparagement of Resort AG to Ms. Kizer is likely the
8
          same script being used with every ResortAG client Defendant Barlow has contacted
9
          after misappropriating its customer list and Business Knowhow, thereby causing
10
          continual damage to ResortAG’s business, its reputation, and its ability to gather new
11
          clients by way of referrals. Plaintiffs urgently request the assistance of the Court to
12        enjoin Defendant Barlow from continuing to tortuously interfere with its client
13        relations and to defame ResortAG to its clients.
14              Defendant Barlow will not stop his illegal and harmful behavior without a
15        direct order of this Court. He has not stopped due to the pendency of this litigation
16        and he refused to acknowledge he would stop after receiving a Cease and Desist
17        letter. Resort AG believes that Defendant Barlow may try to accelerate his efforts,
18        including potentially recruiting still more ResortAG clients into the Barlow
19        Racketeering Enterprise to defame ResortAG and file further bogus criminal

20        complaints with law enforcement in the hopes of extorting hundreds of thousands if

21        not millions of dollars and potentially putting it out of business. Plaintiffs have no
          option but to again request the assistance of the Court to enjoin Defendant Barlow,
22
          his law firm, CDRS, and the other named Barlow-controlled entities from contacting
23
          ResortAG clients torecruit them and disparage ResortAG.
24
25              VII. LEGAL STANDARD
                “The underlying purpose of a TRO is to preserve the status quo and prevent
26
          irreparable harm before a preliminary injunction hearing may be held.” (Jones v.
27
          H.S.B.C. (USA), 844 F. Supp. 2d 1099, 1100 (S.D. Cal. 2012) (citing Granny Goose
28
                                                      11
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1         Foods, Inc. v. Brotherhood of Teamsters & Auto Truck Drivers, 415 U.S. 423, 439
2         (1974)). To prevail on an application for a TRO, a moving party must demonstrate
3         that “he is likely to succeed on the merits; he is likely to suffer irreparable harm in the
4         absence of preliminary relief; the balance of equities tips in his favor; and, that an
5         injunction is in the public interest.” (Stormans, Inc. v. Selecky (9th Cir. 2009) 586
6         F.3d 1109, 1127 (quoting Winter v. Natural Res. Def. Council, Inc. (2008) 555 U.S.
7         7, 129 S. Ct. 365, 374, 172 L.Ed.2d 249).) The Ninth Circuit has also held that
8         “serious questions going to the merits’ and a hardship balance that tips sharply

9         toward the plaintiff can support issuance of an injunction, assuming the other two
          elements of the Winter test are also met.” (Alliance for the Wild Rockies v. Cottrell
10
          (9th Cir. 2011) 632 F.3d 1127, 1132.)
11
                Relevant to this Application, Plaintiffs Complaint (Doc 9) alleges causes of
12
          action for theft and misappropriation of trade secrets against Defendant Barlow under
13
          the Defend Trade Secrets Act of 2016 (18 U.S.C. 1836 Count 4), California common
14
          law causes of action for defamation (Count 13), conversion (Count 9), and
15
          interference with existing and prospective contractual and economic relations (Counts
16        10 and 11)
17              Plaintiffs are seeking emergency injunctive relief to: (a) stop further
18        defamation of ResortAG by Defendant Barlow and others under his control or
19        influence, (b) enjoin the Barlow Defendants from any further access to or use of the
20        trade secrets of ResortAG, (c ) stop Defendant Barlow from contacting by any means
21        the clients of ResortAG for any purpose, and (d) require the Barlow Defendants to
22        preserve all relevant evidence in their possession, custody, or control, including but
23        not limited to, all emails (including archived and web-based email applications),
24        email logs, email and phone scripts, letters and drafts of letters sent to try to recruit

25        ResortAG clients, present or former, to his timeshare resolution law practice or
          CDRS.
26
27
28
                                                       12
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1               VIII. THE COURT SHOULD GRANT THE REQUESTED RELIEF
                A.    Claims of Theft and Misappropriation of Trade Secrets
2
                      1. The Court has the Power to Enjoin to Protect Trade Secrets
3               The Court has the authority to provide injunctive relief under Section 1836
4         (b)(3)(A)(i) and Section 1836 (b)(3)(A)(ii) of DTSA to prevent any actual or
5         threatened misappropriation on terms “the court deems reasonable” and as long as the
6         injunctive relief order does not conflict with any applicable state laws.
7               To succeed on a cause of action under the Defend Trade Secrets Act
8         (“DTSA”), a plaintiff must prove: (1) ownership of a trade secret; (2) related to a
9         product or service used in or intended for use in interstate commerce; and (3)
10        misappropriation of the trade secret. For “information” to qualify as a trade secret, the

11        owner must have “taken reasonable measures to keep [the] information
          secret” and the information must have “independent economic value, actual or
12
          potential, from not being generally known to, and not being readily ascertainable
13
          through proper means by, another person who can obtain economic value from the
14
          disclosure or use of the information.” (18 U.S.C. §1836(b)(1).)
15
                Misappropriation under the DTSA requires that the trade secret be acquired by
16
          “improper means,” which can include “theft, bribery, misrepresentation, breach or
17
          inducement of a breach of a duty to maintain secrecy, or espionage through electronic
18        or other means.” (18 U.S.C. §1839(6).) An employee or former employee who
19        acquires a trade secret by “theft” or “breach … of a duty to maintain secrecy” likely
20        has acquired it by “improper means.” (Id.)
21                    2. Unique Business Methods, Customer Lists and Client Databases are
                           Trade Secrets
22
                A business’ unique method of successful operation and competition is a
23
          recognized trade secret.11 “The words ‘method [and] technique ‘[as used in the
24
          Uniform Trade Secret Act’s definition of trade secret’ are intended to include the
25
26        11 “A basis for the protection of trade secrets is that the recipient obtains through a
          confidential relationship something he did not previously know.” (Futurecraft Corp.
27        v. Clary Corp. (1962) 205 Cal.App.2d 279, 288.)
28
                                                     13
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1         concept of “know-how.’”12 Unique business knowhow, including proprietary
2         methods of competing and confidential information giving one a business advantage,
3         is a trade secret.13 Proprietary marketing strategies and plans also constitute trade
4         secret under California law.14 An employee is said to have acquired information
5         amounting to a trade secret from his employer if the information is acquired during
6         the course of his employment. (Ungar Electric Tools, Inc. v. Sid Ungar Co.,
7         Inc. (1961) 192 Cal.App.2d 398, 403.)
8               Where a company puts significant efforts into creating and maintaining a
9         proprietary client list, including identifying customers with particular needs or
10        characteristics, it is protectible as a trade secret. (Cole Asia Bus. Ctr., Inc. v. Manning
11        (C.D.Cal. June 18, 2013, No. CV 12-00956 DDP (CWx)) 2013 U.S.Dist.LEXIS

12        85818, at *8; See also Morlife, Inc. v. Perry (1997) 56 Cal. App. 4th 1514, 1521-22.)

13        Likewise, a customer database is protected as a trade secret because it “has potential

14        economic value because it allows a competitor … to direct its sales efforts to those

15        potential customers that are already using the [plaintiff’s services.]” (MAI Sys. Corp.

16        v. Peak Computer, Inc. (9th Cir. 1993) 991 F.2d 511, 521.)

17              Plaintiff ResortAG has spent millions of marketing dollars and years of time
          developing its proprietary customer lists, customer database, and unique Business
18
          Knowhow. They are never shared with outside parties and are protected at all times
19
          by ResortAG. They have substantial independent value such that if one were to
20
          simply “hand them over” to a competitor they would have a business-in-a-box model
21
          to start profitably operating right away.
22
23        12 (Alderson v. United States (2012) 718 F. Supp. 2d 1186, 1198). Rest. Third of
          Unfair Competition § 39 cmt. d (1995) (describing "know-how" as a type of "trade
24
          secret").
25        13 A trade secret is “information which is used in one's business, and which gives
26        him an opportunity to obtain an advantage over competitors who do not know or use
          it. (Rigging Int'l Maintenance Co. v. Gwin (1982) 128 Cal.App.3d 594, 598.)
27        14 (Duncan v. Stuetzle (9th Cir. 1996) 76 F.3d 1480, 1488, fn. 11).
28
                                                      14
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1                      3. Resort AG has Taken Reasonable Measures to Keep Information
                          Secret
2
                Plaintiff Resort AG maintains password protected computer systems at all
3
          times and vigilantly protects the information contained in their computer systems.
4
          Defendant Barlow, during his brief tenure as an employee of Resort AG, did have
5
          regulated access to the computer systems of Resort AG. Defendant Barlow knew at
6
          all times that the data in in ResortAG’s client files solely belonged to ResortAG, it
7         was confidential, his access was limited and regulated, and the clients were not his to
8         keep or take. (See Doc 10-1, J. Krieck Decl. ¶¶ 6-7, 10, Doc. 10-3)
9               ResortAG also goes to great lengths to keep its unique Business Knowhow
10        secret as that is one of the key pillars of its business. It does not publish this
11        information anywhere and requires employees who have specific access to maintain
12        confidentiality of this information. By virtue of working for ResortAG, Defendant
13        Barlow necessarily learned of and understood many of the key aspects of this unique
14        Business Knowhow.
                     4. The Information Has Independent Economic Value
15
                Resort AG has spent millions of dollars marketing and advertising across the
16
          United States to get clients. It has also extensively invested substantial amounts of
17
          time and money in its Business Knowhow to try to “formulate” the ideal strategies
18        and methods to achieve success for its clients and operate a successful business. This
19        highly proprietary information and ResortAG’s client information are not generally
20        known and cannot be easily replicated without similar substantial business and
21        monetary efforts over years of time, including accepting the actual risk of business
22        failure and resulting losses if one is not adept at business.
23                      5. The Trade Secrets of Resort AG Have Been Acquired by Improper
                           Means
24               Defendant Barlow has accessed and misappropriated the entire proprietary
25        client database of Resort AG, along with its Business Knowhow, its most prized and
26        valuable assets. Evidence of this is his admission that he solicited dozens if not
27        hundreds of ResortAG clients (Doc 10-1, J. Krieck Decl. ¶ 14(b)), his ability, through
28
                                                       15
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1         deception and manipulation, to “recruit” the Barlow 10 by targeted emails, phone
2         calls, and written communication, and his ongoing attempts to recruit other clients of
3         ResortAG, such as Ms. Kizer. Other than by the direct access he had to the protected
4         confidential information of Resort AG in his fiduciary capacity as counsel to
5         ResortAG, Defendant Barlow would not have any way to know the Barlow 10 or
6         other ResortAG client “marks” he has solicited and is still soliciting to recruit away
7         from ResortAG.
8               It is undisputed that Defendant Barlow gained access to the specific identities,
9         addresses, financial situations, specific contractual obligations to timeshare
10        developers, payment history, and detailed client analysis of each of the Barlow 10.
11        (Doc 10-1, J. Krieck Decl. ¶ 10.) He gained access to their individual contractual
12        details with Resort AG and specific customer needs. He also had complete access to
13        the custom developed business steps taken by Resort AG to remove them from their
14        timeshare obligation. This information unquestionably constitutes financial, business,
15        or economic information within the meaning of the statute. Indeed, “[c]ustomer
16        information such as sales history and customer needs and preferences constitute trade
17        secrets.” (Henry Schein, Inc. v. Cook, No. 16-CV-03166-JST, 2016 WL 3212457, at
18        *3 (N.D. Cal. June 10, 2016) (analyzing an application for a TRO under the Defend
19        Trade Secret Act and citing MAI Sys. Corp. v. Peak Computer, Inc. (9th Cir. 1993)
20        991 F.2d 511, 521.)
21                     6. Defendant Barlow has Illegally Used Resort AG’s Trade Secrets
22              Under the DTSA, “misappropriation” is defined as the acquisition of a trade
23        secret of another by a person who knows it was acquired by improper means or the

24        disclosure or use of a trade secret of another without express or implied consent by a
          person who used improper means to acquire knowledge of the trade secret. (18
25
          U.S.C. § 1839(5)) Misappropriation also occurs where an individual acquired
26
          knowledge of the trade secret under circumstances giving rise to a duty to maintain
27
          the secrecy of the trade secret or limit the use of the trade secret. (Id.)
28
                                                       16
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1               Defendant Barlow misappropriated Plaintiff Resort AG’s trade secrets. Acting
2         in full concert and participation with the other Barlow Defendants, Barlow stole
3         Resort AG’s trade secrets and the Barlow Defendants have used and are using this
4         information, without ResortAG’s consent, to identify and send emails to ResortAG’s
5         clients containing defamatory information about Resort AG in an effort to interfere
6         with its business and contractual client relations. Defendant Barlow’s recent contacts
7         to Ms. Kizer are new direct evidence of this.
8               As a previous attorney for ResortAG, Defendant Barlow had actual knowledge

9         that the trade secrets he stole belong solely to Resort AG, and any non-permissive use
          by outside parties is illegal. Barlow Defendants have also used and are using this
10
          information to intentionally disparage and attack the reputation of Plaintiff Klein with
11
          false and defamatory information sent by email to ResortAG customers. (Doc. 10-1,
12
          J. Krieck Decl. ⁋ 14(e), Doc. 10-7) When the defamatory emails were sent, Barlow
13
          Defendants knew the trade secrets were acquired under circumstances giving rise to a
14
          contractual, fiduciary and legal duty to maintain the secrecy of the trade secrets and
15
          to prohibit their use outside of employment, or were derived by illegal means. (18
16        U.S.C. § 1839(5)(B)(ii)(II), (III).)
17              Accordingly, Barlow Defendants have misappropriated Plaintiff ResortAG’s
18        trade secrets and should be enjoined by this Court from further access or use.
19               B.     Claims of Defamation of Resort AG and Plaintiff Klein
20              There are two types of defamation recognized in California, libel and slander.

21        (Cal. Civ. Code 45, 46.) Defamation per se occurs when a statement is defamatory
          on its face that is untrue. (Yow v. Nat'l Enquirer, Inc. (E.D.Cal. 2008) 550 F.Supp.2d
22
          1179, 1183.) An allegation the plaintiff is guilty of a crime is libelous on its face as
23
          are statements which falsely impute the commission of a crime. (Id. at 1180. See also
24
          Fashion 21 v. Coalition for Humane Immigrant Rights of Los Angeles, 117
25
          Cal.App.4th 1138, 1145 fn. 7, 12.)
26
27
28
                                                      17
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1               In defamation actions the First Amendment also requires that the statement on
2         which the claim is based must specifically refer to, or be 'of and concerning,' the
3         plaintiff in some way."15 (Blatty v. New York Times Co. (1986) 42 Cal.3d 1033, 1042)
4               California law provides that a plaintiff bringing a defamation claim must show
5         four elements: "that defendants published the statements; that the statements were
6         about plaintiff; that they were false; and that defendants failed to use reasonable care
7         to determine the truth or falsity." (Todd v. Lovecruft (N.D.Cal. Jan. 6, 2020, No. 19-
8         cv-01751-DMR) 2020 U.S.Dist.LEXIS 2309, at *47., quoting Hecimovich v. Encinal

9         Sch. Parent Teacher Org., (2012) 203 Cal. App. 4th 450, 470.)
                                  1. Defendant Barlow has Committed Defamation Per Se
10
                On multiple occasions, starting at least as early as 2019, Barlow Defendants,
11
          acting through Defendant Barlow, have repeatedly made criminal accusations against
12        Resort AG and its executives to members of the public that they know are false and
13        untrue. Barlow Defendants have also repeatedly made criminal accusations against
14        Plaintiff Klein and his law firm to members of the public they know are false and
15        untrue. These false accusations were sent by email to ResortAG clients, they were
16        posted online to sites such as Facebook and Yelp, (Doc. 10- 1Decl. J. Krieck ⁋ 14(e);
17        Doc. 10-8), and they were done verbally by phone during high pressure “recruitment”
18        phone calls to Resort AG clients such as the recent one to Ms. Kizer. Upon recent
19        inquiry to various prosecuting offices where Barlow states crimes have been

20        committed, Plaintiffs attorneys received a reply back stating there are no

21        “investigations” as Barlow claims.16
                The oral and written criminal accusations state things such as “all RAG
22
          contracts are fraudulent,” “RAG’s contractual promises ... were intended to deceive
23
          and defraud,” Resort AG executives have “knowledge of how the timeshare scam
24
25        15 In the present case, Defendant Barlow specifically refers to Resort Advisory
26        Group by name at all times when making the defamatory comments, meeting the “of
          and concerning” requirement.
27           16 Decl. Alemi, ⁋ 9, Response letter from Camden County Prosecutors Office.
28
                                                     18
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1         works,” and “unless RAG sometime soon offers to settle with the criminal
2         compainants … they face almost certain indictment and prosecution.” (Doc. 10-1
3         Decl. J. Krieck ⁋ 14(e)) Defendant Barlow, acting through CDRS, also states that “33
4         criminal complaints have been lodged with three different district attorneys and two
5         United States attorneys against RAG and six of RAG’s executives and employees”
6         without stating that he personally is responsible for orchestrating and directing
7         Barlow Racketeering Enterprise members to file those claims on his behalf. (Id.)
8               ResortAG has successfully assisted a multitude of consumers in exiting their

9         illegal timeshare contracts. If it does not think it can help the individual, it does not
          take them on as a client. ResortAG has been employing the same legal methods to
10
          assist consumers for years and continues to do so today. As a result of the value of its
11
          legal methods and the high quality of service it provides to its clients, it enjoys an A+
12
          rating from the Better Business Bureau. These are the exact same methods Defendant
13
          Barlow had access to and did or could utilize when he was a timeshare resolution
14
          attorney for ResortAG. They were not fraudulent then, and they are not fraudulent
15
          now, other than in the fabricated reality in which Defendant Barlow dwells.
16              Defendant Barlow is a licensed attorney in California and has no excuse for
17        what he has intentionally done and continues to do. His assertions are laughable on
18        their face and have no basis in law (or even in logic) whatsoever. There is no such
19        thing as a “self-voiding” contract. Whether he personally believes timeshare contracts
20        are all invalid (or void) does not “transform” the honest work of ResortAG and other
21        similar companies into acts of fraud. His manipulative recruitment letter to Ms. Kizer
22        and others includes statements that his “work is in commerce; this is a commercial
23        handling. We do not do this work; this is not legal work … this is how merchants in
24        ancient times conducted their own affairs and resolved their own disputes internally.

25        They did not need or use the local legal system (and neither does CDRS).” (Kizer
          Decl, ⁋ 4; Exh.1.) This is legal rubbish and is part of his fabricated reality used to
26
          recruit unwitting individuals to assist him in revenge and extortion.
27
                       2. Defendant Barlow Has Intentionally Published a False Statement of
28                        Fact
                                                       19
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1               On at least dozens, and likely hundreds, of occasions, Defendant Barlow
2         elected to send out emails, letters by U.S. mail, and made phone calls to customers
3         identified and targeted from ResortAG’s proprietary client database. Virtually similar
4         to the defamatory claims about Plaintiffs made to Ms. Kizer, Defendant Barlow has
5         repeated these same allegations of fraud, deceit, and criminality time and time again.
6         These were not mistakenly published and the false statement of fact – that ResortAG
7         has committed massive fraud – is wholly fabricated by Defendant Barlow and has no
8         factual basis whatsoever. Defendant Barlow has seemingly convinced himself that

9         ALL companies that assist customers in exiting their timeshare contracts, absent
          CDRS, of course, are de facto fraudulent no matter what legitimate efforts they put
10
          forth to assist their customers and no matter the results achieved.
11
                In Ms. Kizer’s case, Defendant Barlow published the false facts on or around
12
          May 5, 2020 by email and then repeated and added further defaming claims in his
13
          phone call to her during the last week of May, 2020. The published false facts are
14
          virtually identical to the ones posted to the Barlow 10 and the ones Barlow has posted
15
          on social media sites within the last year.
16                    3. The Statements are Not Privileged
17              Individual statements made to an investigative agency are generally privileged
18        and cannot give rise to a defamation claim, as are statements or complaints made in
19        an effort to inform or prompt an investigative agency to take action. (Williams v.

20        Taylor (1982) 129 Cal. App. 3d 745, 749; Wise v. Thrifty Payless, Inc. (2000) 83

21        Cal.App.4th 1296, 1303; 5 Witkin, Summary of Cal. Law (9th ed. 1988) Torts, §§
          502–511.) However, communications between private parties concerning a private
22
          entity that are not directed at preparing for or eliciting governmental actions are not
23
          privileged. (Hagberg v. California Federal Bank (2004) 32 Cal.4th 350, 365 citing
24
          Slaughter v. Friedman (1982) 32 Cal. 3d 149.)
25
                Barlow Defendants’ statements, made repeatedly by email, orally, and by
26
          phone, that Resort AG commits fraud on its customers, are not privileged. The
27
          statements were made by Defendant Barlow, a private citizen, to Resort AG clients,
28
                                                     20
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1         also private citizens. Although Defendant Barlow may have orchestrated and
2         directed the Barlow 10 to file baseless and frivolous criminal charges against Resort
3         AG executives to law enforcement, this does not give him carte blanche to then
4         repeat the same false charges again and again and again to individual citizens as part
5         of a campaign of revenge, retribution, and extortion. To hold otherwise would allow a
6         substantial loophole for abuse that has no actual remedy.
7               Even if one were to consider the statements by Barlow Defendants to have
8         qualified privilege, which they do not, the statements were made with malice in that

9         Defendant Barlow has admitted that his goal is to continue making these defaming
          statements until ResortAG is out of business or they pay the demanded ransom
10
          amount. (Doc 10-1, J. Krieck Decl. ¶¶ 15-16; Doc 10-10 Krieck, M. Decl., ¶ 4, Doc
11
          10-11) There is no overarching “public purpose” in Barlow’s disparaging statements
12
          to the public for revenge, for recruitment into the Barlow Racketeering Enterprise, for
13
          Barlow’s personal economic benefit, and to gain further leverage to extort Resort AG.
14                    4. The Statements Have a Natural Tendency to Injure
15              By the nature of the statements made, i.e., “all RAG contracts are fraudulent,”
16        “RAG’s contractual promises ... were intended to deceive and defraud,” ResortAG
17        executives have “knowledge of how the timeshare scam works,” and “unless RAG
18        sometime soon offers to settle with the criminal complainants … they face almost
19        certain indictment and prosecution,” the Barlow Defendants are accusing ResortAG

20        of committing crimes against its clients. This by definition is injurious to ResortAG.
                      5. Defendant Barlow’s Reckless Disregard for the Truth
21
                Defendant Barlow, acting on behalf of Barlow Defendants, has used claims of
22
          fraud to turn clients against Resort AG, with the “fraud” being something that he
23        himself made up out of whole cloth. He has no legal precedent to support his baseless
24        contention that all timeshare contracts are inherently void and non-binding on a
25        timeshare purchaser. This flies in the face of established contract law, real estate law,
26        and logic. He is using his position as an attorney, his law firm, and several entities he
27        has created to make this illusory argument convincing to the public, particularly when
28        he provides such ridiculous and professionally unethical guarantees as a promise that
                                                     21
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1         working with CDRS, timeshare customers “will get back, minimally, every single
2         cent they mistakenly gave the timeshare developer” as a further “lure” to get
3         ResortAG clients to join him and CDRS. (Doc 10-1, J. Krieck Decl. ¶¶ 14(b), Doc.
4         10-5.) Defendant Barlow knows his statements are false, he knows that the
5         underpinnings of his recruitment of ResortAG clients into Barlow Racketeering
6         Enterprise are false, and he makes the statements in furtherance of the goal to extort
7         money from ResortAG. And if he doesn’t actually know, but has deluded himself
8         into believing the statements are true, then he has still made them with a blatant and

9         reckless disregard for the truth.
                       6. Plaintiff Attorney Klein is Likely to Succeed on His Defamation Claims
10
                Plaintiff Attorney Klein represented the legal interests of ResortAG only, and
11
          only on general business matters. He has no claimed expertise in timeshare resolution
12        and does not perform any legal timeshare resolution services for ResortAG or any
13        other clients. Attorney Klein has never represented any clients of ResortAG or
14        performed legal services on their behalf. (Doc. 10-12 Klein Decl., ¶¶ 3-4.)
15              Any and all false statements of criminality made by Barlow or the Barlow 10
16        about Attorney Klein are unprivileged and were done maliciously for the purposes of
17        harming his and ResortAG’s reputations, and in furtherance of their extortion
18        scheme.17 Attorney Klein and his law firm are highly likely to win on the merits of
19        their claims.

20              IX.       PLAINTIFFS FACE CONTINUING IRREPARABLE HARM
21              A plaintiff seeking injunctive relief from the court must present evidence that
22        irreparable harm is likely in the absence of an injunction. (Winter v. Natural Res. Def.
23        Council, Inc., 555 U.S. 7, 22, 129 S. Ct. 365, 172 L. Ed. 2d 249 (2008) (holding

24        plaintiff seeking preliminary injunction must “demonstrate that irreparable injury is
          likely in the absence of an injunction”) (emphasis in original); (Herb Reed
25
26        17 This includes, without limitation, baseless statements made about Attorney in
27        criminal and bar complaints filed by members of the Barlow 10. (Doc 10-1; J. Krieck
          ¶ 14(e), Docs 10-6 and 10-7; Doc 10-12 Klein Decl. ¶ 5, Doc 10-14)
28
                                                     22
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1         Enterprises, LLC v. Florida Entm’t Mgmt., Inc. (9th Cir. 2013) 736 F.3d 1251, 1242,
2         (“Those seeking injunctive relief must proffer evidence sufficient to establish a
3         likelihood of irreparable harm.”).) (emphasis added.) Thus, a plaintiff need not
4         establish that actual irreparable harm has already occurred in order to obtain a
5         preliminary injunction, just that irreparable harm is likely to occur in the absence of a
6         preliminary injunction. (Id. at 1249, (citing Amoco Prod. Co. v. Village of Gambell,
7         AK, 480 U.S. 531, 546 n. 12, 107 S. Ct. 1396, 94 L. Ed. 2d 542 (1987).) “[E]vidence
8         of threatened loss of prospective customers or goodwill certainly supports a finding

9         of the possibility of irreparable harm.” (Stuhlbarg Int'l Sales Co. v. John D. Brush &
          Co. (9th Cir. 2001) 240 F.3d 832, 841.) (citation omitted.)
10
                Barlow Defendants are continuing to solicit the clients of ResortAG in order to
11
          intentionally disparage Resort AG in their efforts to recruit them as customers of
12
          CDRS. While ResortAG only has actual evidence of one contact in very recent days,
13
          Ms. Kizer, it is unlikely she is a one-off randomly chosen by Barlow Defendants,
14
          who have likely made dozens of such attempts with other ResortAG clients. Each
15
          contact with a ResortAG client is intentionally designed to plant a seed of doubt in
16        the client’s mind that they have been scammed, thereby intentionally harming the
17        good reputation of ResortAG and Plaintiff Klein. This is the stated intent of
18        Defendant Barlow, where he claims he will continue to disparage Resort AG
19        wherever and whenever he can until they agree to either pay the extortion demand or
20        go out of business.
21              ResortAG counts on its good reputation with its customers as a source of future
22        revenue and referrals and has spent a substantial amount of time, money and business
23        effort to capture and retain its customers. Every single day that Barlow Defendants
24        are able to continue to disseminate knowingly false claims of fraud to ResortAG

25        clients to the public about Plaintiffs results in further irreparable brand image
          damage, irreparable harm to ResortA G’s ability to market, and recruit new
26
          customers, and irreparable harm to the well-earned reputation of Attorney Klein.
27
28
                                                      23
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1               Further, given that Defendant Barlow has intentionally used ResortAG’s trade
2         secrets to identify the persons to whom he sends the defamatory emails, phone calls,
3         and letters, Plaintiffs have suffered irreparable harm. (Extreme Reach, Inc. v.
4         Spotgenie Partners, LLC (C.D.Cal. Nov. 22, 2013, No. CV 13-07563-DMG (JCGx))
5         2013 U.S.Dist.LEXIS 201300, at *17. (Use of a former employer’s customer list may
6         be enjoined because they no longer have any rights to the list.).) Unless enjoined,
7         there is nothing stopping Barlow Defendants from simply continuing the illegal
8         actions. Under these circumstances, there can be little question that Plaintiffs have

9         suffered and are likely to continue to suffer irreparable harm in the absence of a TRO.

10              X. THE BALANCE OF EQUITIES TIPS IN FAVOR OF PLAINTIFFS
11              The equities in this case overwhelmingly warrant immediate injunctive relief.
12        The proposed TRO would prohibit the Barlow Defendants from further use of the

13        trade secrets of ResortAG, prevent them from further contacting the clients of Resort
          AG, and prevent them from further defamation of Plaintiffs. In other words, the
14
          requested injunction is narrowly tailored to simply prevent Barlow Defendants from
15
          any interaction with ResortAG’s clients and attempting falsely and maliciously to
16
          poison their minds about ResortAG. Barlow Defendants will not be harmed in any
17
          way, other than having to build their own timeshare resolution business legitimately,
18
          through honest, independent effort, not by ripping off ResortAG’s client list and
19
          Business Knowhow. Plaintiffs are unaware of any harm to Barlow Defendants by an
20        injunction precluding them from making further defamatory statements about
21        ResortAG and Klein to ResortAG’s clients and to the public at large. As such, the
22        balance of equities strongly favors Plaintiffs and entry of a TRO.
23
                XI.    ALTERNATIVELY, PLAINTIFFS REQUEST AN EARLIER
24                     PRELIMINARY INJUNCTION HEARING
25              Should this Application for a TRO be denied, Plaintiffs respectfully request a
26        hearing date on the pending preliminary motion as far in advance of the currently
27        scheduled date of August 21, 2020 as possible. Given the conclusive proof presented

28        herein of the Barlow Defendants’ continuing illegal solicitation of ResortAG’s clients
                                                     24
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1         and defamation of ResortAG, and the near certainty this is occurring and will
2         continue to occur on a scale far greater than just the contacts with Ms. Kizer, justice,
3         including prevention of continuing irreparable harm to Plaintiffs, demands that this
4         matter be heard and decided at the earliest possible time before August 21.
5                  XII. CONCLUSION
6                  For the foregoing reasons, Plaintiffs respectfully request entry of the requested
7         TRO and order Defendants to show cause why a preliminary injunction should not
8         issue.
9
10        DATED: July 1, 2020                       THE ALTMAN LAW GROUP

11                                                  BY:__/s/ Bryan Altman_______________
12                                                  BRYAN C. ALTMAN

13        DATED: July 1, 2020                       LAW OFFICES OF WILLIAM I.
14                                                  ROTHBARD

15                                                 BY: _/s/ William I. Rothbard___________
16                                                 WILLIAM I. ROTHBARD
                                             Attorneys for Plaintiff Intermarketing Media, LLC
17                                           d/b/a Resort Advisory Group, Law Offices of David
18                                           Alan Klein, and David Alan Klein, Esq.

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